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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16 B 29343
         Richard Joseph Koutsky

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/14/2016.

         2) The plan was confirmed on 11/14/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/26/2017.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 11/22/2017.

         6) Number of months from filing to last payment: 14.

         7) Number of months case was pending: 25.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor             $11,857.00
           Less amount refunded to debtor                        $1,880.98

 NET RECEIPTS:                                                                                       $9,976.02


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $3,797.00
     Court Costs                                                                $0.00
     Trustee Expenses & Compensation                                          $428.33
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $4,225.33

 Attorney fees paid and disclosed by debtor:                   $203.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim            Claim        Principal      Int.
 Name                                  Class   Scheduled      Asserted         Allowed         Paid         Paid
 Activity Collection Service Inc   Unsecured          83.00         83.30            83.30           0.00       0.00
 Athletex                          Unsecured      3,000.00            NA               NA            0.00       0.00
 ATT Midwest                       Unsecured          84.00           NA               NA            0.00       0.00
 Becket & Lee                      Unsecured      1,530.00       1,530.27         1,530.27           0.00       0.00
 Bridgecrest Credit Company LLC    Secured       18,421.00     18,366.54        18,366.54       3,029.05     953.08
 Capital One                       Unsecured           0.00           NA               NA            0.00       0.00
 Capital One Auto Finance          Secured        4,969.00       4,811.79         4,811.79        828.35     248.82
 Cmre. 877-572-7555                Unsecured          90.00           NA               NA            0.00       0.00
 Commonwealth Edison Company       Unsecured         470.00      1,805.58         1,805.58           0.00       0.00
 Cook County Treasurer             Secured             0.00           NA               NA            0.00       0.00
 First Premier BANK                Unsecured         420.00           NA               NA            0.00       0.00
 First Premier BANK                Unsecured         423.00           NA               NA            0.00       0.00
 Midamerica Ortho                  Unsecured         820.00           NA               NA            0.00       0.00
 Midfirst Bank                     Secured        9,152.71       9,152.71         9,152.71        691.39        0.00
 Midfirst Bank                     Secured       69,219.00     77,531.86        77,531.86            0.00       0.00
 Midland Funding LLC               Unsecured         303.00        302.87           302.87           0.00       0.00
 Mutual Management SERV            Unsecured          82.00           NA               NA            0.00       0.00
 Palos Community Hospital          Unsecured         440.00           NA               NA            0.00       0.00
 Regional Recovery SERV            Unsecured          72.00           NA               NA            0.00       0.00
 Republic Services #721            Unsecured         183.00           NA               NA            0.00       0.00
 Senex Services Corp               Unsecured         211.00           NA               NA            0.00       0.00
 Speedy Cash                       Unsecured         289.00        289.25           289.25           0.00       0.00
 State Collection Servi            Unsecured         127.00           NA               NA            0.00       0.00
 State Collection Servi            Unsecured         176.00           NA               NA            0.00       0.00
 Syncb/Walmart                     Unsecured           0.00           NA               NA            0.00       0.00
 THE Affiliated Group I            Unsecured         390.00           NA               NA            0.00       0.00
 United States Dept of HUD         Secured             0.00    12,729.27        12,729.27            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal            Interest
                                                            Allowed               Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                  $90,261.13              $0.00               $0.00
       Mortgage Arrearage                                 $9,152.71            $691.39               $0.00
       Debt Secured by Vehicle                           $23,178.33          $3,857.40           $1,201.90
       All Other Secured                                      $0.00              $0.00               $0.00
 TOTAL SECURED:                                         $122,592.17          $4,548.79           $1,201.90

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $4,011.27               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $4,225.33
         Disbursements to Creditors                             $5,750.69

 TOTAL DISBURSEMENTS :                                                                       $9,976.02


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/26/2018                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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